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                       UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

     Plaintiff,

        v.                              Case No. 1:23-cv-09304

THE M/Y AMADEA, A MOTOR YACHT           The Honorable Dale E. Ho
BEARING INTERNATIONAL MARITIME
ORGANIZATION NO. 1012531,               ORAL ARGUMENT REQUESTED
INCLUDING ALL FIXTURES, FITTINGS,
MANUALS, STOCKS, STORES,
INVENTORIES, AND EACH LIFEBOAT,
TENDER, AND OTHER
APPURTENANCE THERETO,

     Defendant-In-Rem,

        and

EDUARD YURIEVICH KHUDAINATOV,
MILLEMARIN INVESTMENTS LTD.,

     Claimants.



                     CLAIMANTS’ MEMORANDUM OF LAW
                     IN SUPPORT OF MOTION TO DISMISS


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         Claimants Eduard Yurievich Khudainatov and Millemarin Investments Ltd. (collectively,

“Claimants”) respectfully submit this memorandum of law in support of their motion to dismiss

pursuant to Federal Rule of Civil Procedure 12(b)(6) and Supplemental Rules for Admiralty or

Maritime Claims and Asset Forfeiture Actions E and G.

                                PRELIMINARY STATEMENT

       The government’s attempt to forfeit the Amadea stretches the bounds of forfeiture,

sanctions, and money laundering laws far beyond their reach, based on flawed legal theories that

are divorced from the underlying statutory text and unsupported by binding caselaw. Since it is

demonstrably Mr. Khudainatov’s vessel, Claimants vigorously deny the overarching allegations

that Suleiman Kerimov is the ultimate beneficial owner of the Amadea. But even if he were, the

Complaint must still be dismissed because the Amadea is not “proceeds” or “derived from

proceeds” of sanctions evasion or money laundering under any cognizable legal theory.

       The government’s basis to forfeit the Amadea, a 348-foot luxury superyacht whose value

has been reported as between $300 million and $500 million, hangs on the singular theory that

$1.2 million in funds used to pay lawful third-party vendors over the course of a few months by

unnamed and unknown employees of a yacht management company renders the entirety of the

vessel criminal proceeds, or otherwise “involved in” or “traceable to” criminal conduct. This is

simply not the law. Among the key deficiencies—one that is irreparable—is that the government

does not allege any underlying criminal activity that generated the funds to make the vendor

payments. Because illegal proceeds were not used to make the vendor payments, the IEEPA claim

fails. But even if these allegations were made—which they are not—the entirety of the Amadea is

still not forfeitable. At most, the government would be entitled to $1.2 million or the actual assets

purchased with those payments. As articulated in the standard jury instructions in this district, and

used in the government’s own seminal case 650 Fifth Avenue explained: “[i]f property constitutes
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(or was derived) only in part from the proceeds of an IEEPA violation, that property would be

subject for forfeiture, but only in part. For example, if a car were bought with $100 that is proceeds

of an IEEPA violation and $100 in lawfully derived funds, one half of the car would be subject to

forfeiture.” Of course here, the government does not allege any of the Amadea was purchased with

proceeds of an IEEPA violation, only that post-purchase payments were made to vendors during

the vessel’s operation. Because the government can trace the ultimate and current destination of

these funds which were used to purchase crew clothing and food, fuel, garbage disposal, fees for

inspections and telecommunications services, barge fees, dock fees, port fees, and watersports

equipment, for reasons that are well-established in the law, these vendor payments alone do not

support a cognizable forfeiture claim for the Amadea.

          The government also asserts that this is a money laundering case, despite the fact that it

fails to allege any efforts by anyone to launder criminal proceeds or any intent to “promote the

carrying on of” any crime, let alone sanctions evasion. Rather than identifying an underlying crime

that generated criminal proceeds that were laundered, the Complaint conflates money laundering

with the underlying alleged sanctions violations. In other words, the money laundering and the

underlying crime are one and the same, making the charges impermissibly circular. Indeed, the

Complaint does not allege that Kerimov or anyone else was involved in an underlying criminal

enterprise that generated purportedly illegal proceeds that were used to make the vendor payments.

To the contrary, under the government’s theory, the vendor payments were initiated with “clean

money” that was sent to innocent suppliers. What is more, no specific individual or entity is alleged

to have intended to violate the sanctions under 1956(a)(2)(A) and 1957(a) nor ever obtained or

retained the proceeds of illegal conduct that was then laundered. This dooms the money laundering

counts.




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       The following facts are undisputed:

               •   There are no allegations that Kerimov purchased the vessel with illegal
                   proceeds;

               •   There is no allegation that the alleged sale of the yacht to Kerimov was
                   a crime under U.S. law;

               •   There is no allegation that any specific individual sent funds to the
                   United States with the intention of violating IEEPA;

               •   There is no allegation that the funds transmitted to pay vendors involved
                   criminal proceeds, were designed to launder criminal proceeds, or were
                   otherwise tainted at the time the transactions were allegedly initiated;

               •   There are no allegations that a specific individual or entity possessed the
                   requisite intent to commit any violation of U.S. law.

       The government’s seizure of the Amadea in April 2022 was based on President Biden’s

foreign-policy mandate that the government seize luxury assets of wealthy Russians in response

to Russia’s special operations in Ukraine. Despite the government having been presented with

evidence that Mr. Khudainatov owns and has always owned the Amadea, the government ignored

it and seized the Amadea, alleging that Mr. Khudainatov was a straw owner for Kerimov.

       This theory never made any sense, and the government abandoned it, notwithstanding the

fact that it was the theory that provided the legal basis to seize the Amadea. Now, the Complaint

does not even mention Mr. Khudainatov. Instead, it alleges that a different individual is the straw

owner for Kerimov, and that he became so at a different time after Mr. Khudainatov sold the vessel

to this other individual. These new allegations, besides being factually wrong (but accepted as true

solely for this motion) however, fall short of the heightened pleading standard required for the

drastic remedy of forfeiture. The government fails to allege that Kerimov, any of his family

members, or anyone employed by him was a party to any of the alleged sale transactions. The

government also fails to allege facts linking Kerimov to any of the vendor payments that form the

basis of the government’s case. The government fails to sufficiently allege that anyone willfully,


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knowingly, or intentionally violated U.S. sanctions or money laundering laws when paying vendor

expenses for Amadea’s crew, as well as barge and docking fees.

       Apart from these overarching fatal failures, there are still more deficiencies that also

require dismissal. In its First Claim, the government alleges that the Amadea “constitutes or is

derived from proceeds traceable to” violations of the International Emergency Economic Powers

Act (“IEEPA”), “because post-purchase maintenance payments in violation of IEEPA sanctions

allowed the [Amadea] to continue to exist as an operational vessel.” Compl. ¶¶ 51, 52, 53; 18

U.S.C. §§ 981(a)(1)(C), 1956(c)(7). Everything about this allegation is wrong as a matter of law.

But, under the facts alleged, the Amadea neither constitutes nor is derived from “proceeds”

traceable to sanctions violations because no illegal funds were used for the vendor payments, thus

rendering neither the Amadea nor the items purchased proceeds or derived from proceeds traceable

to IEEPA violations. Nor did the purchase of crew uniforms and watersports equipment allow the

Amadea to continue to exist as an operational vessel. And even if they did, the government would

still only be permitted to forfeit the value of the payments made that actually enhanced or

maintained its value, not the entire vessel.

       The Second Claim alleges that the Amadea is property involved in or traceable to a

violation of money laundering, in that funds were allegedly transferred to the United States from

or through outside the United States with the intent to promote the carrying on of IEEPA violations.

Compl. ¶¶ 55-59; 18 U.S.C. §§ 981(a)(1)(A), 1956(a)(2)(A). The Third Claim alleges that the

Amadea was involved in or traceable to monetary transactions “involving criminally derived

property” of a value greater than $10,000, the funds of which transactions were derived from

IEEPA violations. Compl. ¶¶ 61–65; 18 U.S.C. §§ 981(a)(1)(A), 1957. Both of these claims fail to

provide a basis to forfeit the Amadea because under the facts alleged, the Amadea was neither




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“involved in” nor “traceable to” money laundering. The government does not allege illegal

proceeds were obtained or retained and thereafter laundered. The government’s allegations that

the same wire sent—“clean funds” when initiated and used to pay innocent third-party vendors—

is simultaneously a sanctions violation and money laundering fails as a matter of statutory

construction, and Second Circuit caselaw. Moreover, the government fails to allege a specific

person who acted knowingly and intended to violate IEEPA or any US law by sending money into

the United States.

        The Fourth Claim alleges conspiracy, based on the Second and Third substantive money

laundering claims, in which the government alleges that the Amadea constitutes property involved

in a conspiracy to conduct money laundering transactions in violation of 18 U.S.C. §§ 1956 or

1957. Compl. ¶¶ 67, 68, 69, 70. This claim fails because the underlying substantive claims fail and

also because the government does not allege facts that anyone conspired together to do anything,

much less to violate the law. In light of these glaring legal defects, the Complaint should be

dismissed in its entirety.

                        STATUTORY AND FACTUAL BACKGROUND

        All four claims are predicated on an allegation of “specified unlawful activity” (“SUA”),

as defined in 18 U.S.C. § 1956(c)(7)(D), to wit a violation of IEEPA sanctions. Specifically, §

1956(c)(7)(D) defines SUA to include “an offense under . . . section 206 (relating to penalties) of”

IEEPA. Section 206(c) of IEEPA prescribes criminal punishment for “[a] person who willfully

commits, willfully attempts to commit, or willfully conspires to commit, or aids or abets in the

commission of, an unlawful act described in subsection (a).” 50 U.S.C. § 1705(c). And subsection

(a) provides that “[i]t shall be unlawful for a person to violate, attempt to violate, conspire to

violate, or cause a violation of any . . . order . . . issued under this chapter.” Id. § 1705(a).




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       The government asserts that Kerimov who was sanctioned in 2018 purchased the Amadea

via a series of transactions between July 2021 and March 2022. But no alleged transfer document

mentions Kerimov or any agent of his. See Compl. ¶¶ 27, 32. The Complaint alleges “on

information and belief” that these transactions represent a sale to Kerimov, using a straw owner.

See Compl. ¶¶ 33, 34 and 36 (asserting that “[o]n information and belief,” the structure of the final

alleged sales transaction permitted Kerimov “to acquire ownership of the Amadea without a

documented title transfer of the vessel itself . . . ”) (emphasis added). The Complaint does not

allege this sale violated any United States law and does not form the basis of a forfeiture claim.

       The government then alleges that Kerimov or others acting on his behalf engaged in U.S.

dollar transactions that transited U.S. financial institutions relating to the Amadea. Compl. ¶¶ 44,

45. The government alleges that the unnamed “Amadea crew, by way of Millemarin or [the yacht

management company], were billed more than $1.3 million for such expenses, and that “those

same individuals and/or entities caused at least $1.2 million in wire transfers through U.S.

correspondent accounts and/or to U.S-based demand deposit accounts . . . .” Compl. ¶ 46. The

government lists several wire transactions over a seven-month period, but mostly during the three-

month period before April 2022. Id. These payments were allegedly made for crew clothing,

unspecified equipment, provisions, fuel, garbage disposal, hull inspection, barge fees, dock fees,

port fees, safety inspection, telecommunications, unspecified yacht services, and watersports

equipment. Id. Five of these alleged transactions were made from a foreign account or location to

another foreign account, with the only U.S. connection being that they transited through a U.S.

correspondent bank. Id. (b), (c), (e), (k), (l). Only two of these alleged transactions actually ended

up in a U.S. bank account. Id. (a), (d). According to the government, “on information and belief,”

these U.S. dollar payments “preserved or enhanced the Amadea’s overall value.” Compl. ¶ 45.




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       The government’s mens rea allegations are that the alleged straw owner and his unnamed

“colleagues at [the yacht management company]” knew that Kerimov had owned the Amadea

“since in or about September 2021” and, “[u]pon information and belief,” were aware that Kerimov

“had been sanctioned by the United States, and that U.S. law prohibited transacting with” or for

Kerimov. Compl. ¶ 47.

       The government then claims that unnamed employees of the yacht management company

“were also aware that [unnamed] persons controlling, operating, and/or maintaining the Amadea

were transacting with U.S.-based companies and using the U.S. banking system to support and

maintain the Amadea.” Compl. ¶ 48. The government alleges that “when [the yacht management

company] sent money in satisfaction of invoices to U.S. companies or through the U.S. financial

system to support and maintain the Amadea, they were doing so with the intent to promote the

carrying on of U.S. sanctions violations.” Compl. ¶ 49. However, there is no explanation who

“they” are, much less how “they” came to understand that legitimate payments to vendors that

passed through the U.S. banking system could constitute sanctions violations. Even sophisticated

U.S. lawyers might not be aware of such legal nuances. Yet, the government blithely ascribes such

knowledge and understanding to unidentified non-U.S. crew members employed by a European

yacht management company.

       Throughout the Complaint, the government relies on “information and belief” fifteen times

to underpin the critical allegations necessary to establish a legal basis for its four claims (Compl.

¶¶ 32, 36, 39(d), 39(f), 39(h), 40, 40(a), 42(b), 42(e), 45, 46(b), 46(c), 46(d), 46(k), 47). Based

solely on these speculative and conclusory allegations and on legitimate vendor payments that the

government totals to be worth roughly a million dollars and which were for legitimate services,

the government seeks to forfeit a vessel valued at over $300 million.




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                                           ARGUMENT

    I.   The government fails to allege sufficient facts that a sanctioned individual owns the
         Amadea, or that payments were made on his behalf.

         Given their dramatic consequences, in rem forfeiture actions are subject to a heightened

pleading standard is under Supplemental Rule G that is “more stringent than the general pleading

requirements . . . [,] an implicit accommodation to the drastic nature of the civil forfeiture remedy.”

U.S. v. Daccarett, 6 F.3d 37, 47 (2d Cir. 1993). This heightened pleading standard “fortifies the

procedural-due-process protections against improper use of these remedies” by the government.

12 Charles Alan Wright, Arthur R. Miller & Richard L. Marcus, Federal Practice and Procedure

§ 3242 (3d ed. 2023).1

         The government “may not seize and . . . hold property upon conclusory allegations that

[such] property is forfeitable.” U.S. v. $1,399,313.74 in U.S. Currency, 591 F. Supp. 2d 365, 369

(S.D.N.Y. 2008) (citations omitted). “[A] plaintiff’s obligation to provide the ‘grounds’ of his

‘entitle[ment] to relief’ requires more than labels and conclusions....” Bell Atl. Corp. v. Twombly,

550 U.S. 544, 555 (2007) (citations omitted). Indeed, a court must disregard “conclusory

allegations or legal conclusions masquerading as factual conclusions.” Rolon v. Henneman, 517

F.3d 140, 149 (2d Cir. 2008).

         For this reason, allegations used to support required elements based on “information and

belief,” are not permitted under heightened pleading standards absent specific corroborating facts.


1
  In direct response to criticism of the broad scope of the government’s civil forfeiture authority,
Congress passed the Civil Asset Forfeiture Reform Act of 2000 (CAFRA), Pub. L. 106–185, 114
Stat. 202 (codified principally at 18 U.S.C. § 983), which dramatically overhauled the procedures
for civil judicial forfeiture proceedings including requiring this heightened pleading standard.
These measures were designed to temper the “prosecutorial zeal” that “skirts the boundaries of
due process, leading to the taking of private property regardless of whether the owner is innocent
of, or even cognizant of, the property’s use in an illegal act, or whether the seizure is entirely out
of proportion to the criminal conduct alleged.” See 146 Cong. Rec. S1753–02 (daily ed. March
27, 2000) (statement of Sen. Leahy) (emphasis added).

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The Second Circuit has warned that “[a] litigant cannot merely plop ‘upon information and belief’

in front of a conclusory allegation and thereby render it non-conclusory.” Citizens United v.

Schneiderman, 882 F.3d 374, 384–85 (2d Cir. 2018) (citations omitted). This goes back decades.

See, e.g., Segal v. Gordon, 467 F.2d 602, 608 (2d Cir. 1972) (“[a]llegations [on information and

belief] must then be accompanied by a statement of the facts upon which the belief is founded.”).

For this reason, “[a] complaint devoid of any facts to support its bare allegations and consisting

solely of speculative assertions and innuendo cannot stand.” $1,399,313.74 in United States

Currency, 591 F.Supp.2d at 373–76, see also S.E.C. v. One or More Unknown Traders in Sec. of

Onyx Pharms., Inc., 296 F.R.D. 241, 248 (S.D.N.Y. 2013) (allegations “upon information and

belief” amounted to threadbare allegations requiring dismissal); see also Aronov v. Mersini, No.

14-CV-7998, 2015 WL 1780164, at *4 (S.D.N.Y. Apr. 20, 2015) (“[P]laintiffs fail to submit a

statement of facts upon which their belief is based. Without such a statement, plaintiffs’ allegations

fail to satisfy the Rule 9(b) pleading requirements.”).

        A.      The Complaint’s allegations that Kerimov bought the Amadea is a bald
                conclusion that is impermissibly made upon “Information and Belief.”

        The government’s repeated use of “on information and belief,” as highlighted above,

without any reference to specific facts or evidence, falls far short of the requisite specificity that is

required for forfeiture complaints. Indeed, its main conclusion—that the alleged sale transactions

represented a sale to Kerimov with another individual serving as his straw owner and that some

individuals at the yacht management company knew Kerimov owned the boat and others knew

they were transaction in US dollars—is made “on information and belief.” Such “threadbare

allegations require dismissal.” Unknown Traders in Sec. of Onyx Pharms., Inc., at 248




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       B.      The Complaint is devoid of facts linking any payment to Kerimov or his
               agents.

       Based on these uncorroborated allegations of ownership by Kerimov, the government leaps

to its next factually and legally deficient allegation: that routine vendor payments that were

appurtenant to the Amadea were caused by, or made on behalf and for the benefit of, Kerimov.

Yet, there is not one single fact alleged linking any of the delineated payments to Kerimov. There

are no allegations that the funds came from any account he controlled, no allegations that the

payments otherwise originated from him, and no allegations that any of the payments were

subsequently reimbursed by or billed to him. These pleading failures doom the Complaint. See

$1,399,313.74 in United States Currency, 591 F.Supp.2d at 376 (dismissing forfeiture action

because government was asking the court to make impermissible “logical leaps in the absence of

facts and [to] credit conclusory assertions”); see also United States v. One Gulfstream G-V Jet

Aircraft, 941 F. Supp. 2d 1, 14–16 (D.D.C. 2013) (same). Under these circumstances, this Court

should dismiss the Complaint. But even assuming the Court permits this case to go forward on

such conclusory and speculative allegations of Kerimov’s ownership and connection to the vendor

payments “on information and belief,” the government’s four claims fail to allege facts that could

ever permit this Court to order the forfeiture of the Amadea.

II.    The first claim fails because the Amadea neither “constitutes” nor is derived from
       “proceeds traceable to” IEEPA violations, and the Complaint fails to allege that
       anyone acted “willfully.”

       The government has failed to allege facts that (1) the vendor payments constitute willful

IEEPA violations or (2) the Amadea itself constitutes or is derived from proceeds traceable to such

alleged IEEPA violations, as required by 18 U.S.C. § 981(a)(1)(C). Because no illicit funds were

used to make the vendor payments, the Amadea does not meet the statutory definition of

“proceeds,” nor can it be said to have been “derived from proceeds.” Given this, and the absence



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of a factual predicate for the conclusory allegation that anyone willfully violated IEEPA, the First

Claim fails.

       A.      The Amadea cannot be forfeited because it does not constitute “proceeds” of
               an IEEPA violation.

       The government fails to allege facts that support an inference that the Amadea meets either

of the statutory definitions of “proceeds.” Relevant here, “proceeds” is defined as:

       (A) In cases involving illegal goods, illegal services, unlawful activities … the term
           ‘proceeds’ means property of any kind obtained directly or indirectly, as the
           result of the commission of the offense giving rise to forfeiture, and any
           property traceable thereto, and is not limited to the net gain or profit realized
           from the offense.

       (B) In cases involving lawful goods or lawful services that are sold or provided in
           an illegal manner, the term ‘proceeds’ means the amount of money acquired
           through the illegal transactions resulting in the forfeiture, less the direct costs
           incurred in providing the goods or services.

18 U.S.C. § 981(a)(2)(A)–(B) (emphases added).

       The definition under part (A) is plainly inapplicable to this case. The government does not

allege here that anyone was involved in any underlying criminal enterprise or any dealings with

illegal goods. Managing a yacht by paying vendors is not an inherently illegal activity. Boating

provisions and services such as crew clothing, fuel, garbage disposal, inspections, barge, dock, and

port fees, telecommunications, and watersports equipment (Compl. ¶¶ 46 (a)–(d), (i), (j), (k), (l))

are not inherently illegal goods or services. See In re 650 Fifth Ave. & Related Properties, 777 F.

Supp. 2d 529, 551–552 (S.D.N.Y. 2011) (“normally legal activities” that only were “alleged to be

illegal . . . because they were performed for the Iranian government” did not fall under the

definition in part (A) above).

       Nor does the Amadea constitute “proceeds” under part (B). The term “proceeds” in that

subsection refers to the amount of money acquired through the illegal transactions resulting in the




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forfeiture. 18 U.S.C. § 981(a)(2)(B). Again, the government does not allege any underlying

criminal activity that generated money. The Amadea itself is not “money” as required by a plain

reading of the statute. Indeed, cases in this district have analyzed whether money, and not property,

meets the definition of proceeds under 18 U.S.C. § 981(a)(2)(B). See 650 Fifth Ave., 777 F. Supp.

at 552 (finding that criminally derived money constitutes proceeds under §981(a)(2)(B) but an

entire building did not); see also U.S. v. Mahaffy, 693 F.3d 113, 137–138 (2d Cir. 2012); U.S. v.

Kalish, No. 06 Cr. 656, 2009 WL 130215 (S.D.N.Y. Jan. 13, 2009).

       More importantly, however, the definition uses the term “acquired” and not “retained.”

Thus, the Amadea itself does not constitute proceeds based on the government’s theory that the

vendor payments for crew clothing and dock fees allowed the Amadea to be retained. This is the

same theory the court in 650 Fifth Ave. squarely rejected. Similar to the facts in this case, there the

government alleged that a foundation, which was established by the Iranian government, owned a

building at 650 Fifth Avenue in Manhattan and that the foundation effectively acted as a

commercial real estate manager on behalf of the Iranian government, and that those services were

in violation of the IEEPA sanctions placed on Iran. 650 Fifth Ave., 777 F. Supp. at 550, 552. Also

similar to its approach in this case, the government sought to forfeit the entire building under §

981(a)(1)(C). However, the court found that the building itself did not constitute “proceeds” under

this statute. Id. at 556–57. Further, noting that the statutory definition only used the word

“obtained,” and not “retained,” the court stated that it was “not aware of any court that ha[d]

permitted an action to proceed under 18 U.S.C. § 981(a)(1)(C) on the basis that property was

retained as the result of a criminal offense.” Id. at 556 (emphasis added). This Court should not be

the first. As in 650 Fifth Avenue, this Court should reject the government’s attempt to use innocent




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vendor payments to seize an asset whose value is wildly disproportionate to the value of the

payments.

          B.     The Amadea is not “derived from proceeds traceable to” an IEEPA violation.

          Not only does the Amadea not constitute proceeds under Section 981, it also is not “derived

from proceeds traceable to” an IEEPA violation for two independent reasons. First, the government

does not allege that the funds used to make the vendor payments came from an illegal source or

criminal conduct. The government does not dispute that the money used to make these vendor

payments was clean. But even if the government adequately alleged that the money used for vendor

payments derived from criminal conduct—which it does not—the government ignores governing

law in this Circuit, holding that even where illegal funds are used to enhance real property only

the exact portion of the illegal proceeds used to enhance the value of that property (and not the

entire property) can be considered “traceable.” In other words, even if the government is correct

in its analysis—which it is not—it would be entitled to forfeit only $1.2 million, not a $300 million

vessel.

          The government attempts to force a forfeiture claim by alleging that several vendor

payments—all but two which went from a foreign bank account to another foreign bank account,

but allegedly touched a U.S.-based correspondent account—violated IEEPA, and therefore

simultaneously became illegal proceeds. While this theory in and of itself is legally flawed, the

government then asks this Court to find that as a result of these $1.2 million payments to innocent

vendors, the entirety of the vessel is now proceeds traceable to an IEEPA violation. For the reasons

explained above, this allegation is nonsensical and unsupported by governing law.

          Again, this Court should compare the allegations here with the facts of 650 Fifth Ave.

There, the government argued that an entire building constituted “proceeds” under the statute, and




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sought forfeiture of the entire building under § 981(a)(1)(C) arguing that “crime proceeds”—i.e.,

rental receipts earned by a management company knowingly acting as a front for the Iranian

government that was managing a building in New York City—were used to pay for “maintenance,

renovations, and the Building’s other expenses and served to enhance the market value of the

Building.” Id. at 552 (quotations omitted). But courts are unanimous that “the presence of one

illegal dollar in an account does not taint the rest—as if the dollar obtained from the fraud were

like a drop of ink falling into a glass of water.” See, e.g., U.S. v. All Funds Presently on Deposit

or Attempted to be Deposited in any Accounts Maintained at American Express Bank, 832 F. Supp.

542, 561–62 (E.D.N.Y. 1993) (quotations and citations omitted). As such, even in the case where

a criminal was putting illegal proceeds obtained from a willful violation of sanctions law

committed on U.S. soil directly into a building in New York City over a period of years, the 650

Fifth Ave. court found that only the exact portion of “the Building would be forfeitable to the extent

that it is property ‘derived from proceeds,’ i.e., rent[,]. ” Consistent with governing law, the court

instructed the jury that: “[i]f property constitutes (or was derived) only in part from the proceeds

of an IEEPA violation, that property would be subject for forfeiture, but only in part. For example,

if a car were bought with $100 that is proceeds of an IEEPA violation and $100 in lawfully derived

funds, one half of the car would be subject to forfeiture.” ORDER, at 744, In re 650 Fifth Ave. &

Related Properties, 777 F. Supp. 2d 529 (S.D.N.Y. 2011), ECF No. 1902. If this Court were to

ever present jury instructions to a jury, the jury here would be given the same instructions.

Meaning, that even if the government were right, it would be entitled to forfeit $1.2 million dollars.

Not a $300 million dollar vessel. But the government is not even entitled to that amount as

explained herein.




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         This case is even more compelling than 650 Fifth Avenue. The funds used to make the

vendor payments, unlike the rent in 650 Fifth Ave., are not alleged to have been crime proceeds.

The money sent to the vendors who provided lawful goods and services was not earned by the

alleged co-conspirators and never used to enhance the value of the Amadea but rather went to crew

uniforms and provisions and watersports equipment placed on the Amadea, along with barge and

port fees. Obviously, the government does not make any serious factual allegations that the crew

uniforms or provisions for the crew “enhanced” the value of the Amadea. Under the Complaint’s

allegations then, it follows that neither the Amadea nor even a portion thereof, therefore, is derived

from crime proceeds. This claim fails as a matter of law.

         C.      The government fails to allege that anyone acted “willfully,” a predicate
                 allegation for forfeiture premised on an IEEPA violation.

         The Complaint fails to plead the necessary mens rea elements for each of its claims, which

are not premised on the sale, but rather, only on subsequent vendor payments. To forfeit the

Amadea, the government must prove that these vendor payments constituted crimes, specifically

violations of IEEPA sanctions, which is the predicate SUA for each of the government’s claims.2

A criminal violation of IEEPA sanctions requires that a person act “willfully” when doing so. see

Compl. ¶¶ 16, 24 (citing § 1705(c)).

         Here, the Complaint fails to allege which person acted at all, and therefore it fails to specify

which “person” purportedly “willfully” violated IEEPA. Rather, the Complaint generally alleges

that “KERIMOV, or those acting on his behalf, caused entities and persons to make U.S. dollar

(‘USD’) payments” that allegedly constitute sanctions violations. See Compl. ¶ 45. But in the next

paragraph, the Complaint references “the Amadea crew, by way of Millemarin or [the yacht




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    No one has been charged for any of the conduct alleged in the Complaint.

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management company],” alleging that those “same individuals and/or entities” caused the

payments to occur without any mention of their state of mind. Id. ¶ 46. Indeed, all but two of the

vendor payments were made from and to foreign bank accounts outside of the United States. Nor

does the Complaint allege that any of these individuals had any connection to Kerimov, let alone

act as his agent, nor otherwise suggest any reason why they would risk committing a crime so that

Kerimov’s daughter could sail in the Caribbean for a few weeks rather than the thousands of other

places they could have sailed outside the reach of United States sanctions law. Paragraph 46, which

purports to catalog specific transactions constituting sanctions violations, makes no mention of

any natural person. Without a specified person, there can be no intent.

       Paragraphs 47–49 further highlight this deficiency. Rather than identify who actually acted

with the required mens rea, these paragraphs simply state that the alleged straw owner and his

unnamed “colleagues” at the yacht management company knew that Kerimov had owned the

Amadea since September 2021, and allege upon “information and belief” that they knew that

Kerimov had been sanctioned by the United States, and that he was prohibited from transacting

with the United States. Compl. ¶ 47. As discussed supra Part I, allegations based on information

and belief, especially to establish the requisite mens rea for IEEPA violations, are insufficient for

a forfeiture complaint.

       While the government also alleges that unnamed yacht management “employees” were

aware that other “persons controlling, operating, or maintaining the Amadea (including [the yacht

management company] itself)” were transacting with the United States because vendor invoices

indicated transactions with the United States, (Compl. ¶ 48), the government notably fails to

identify whether these yacht management company employees are the same colleagues referred to

in paragraph 47. The Complaint also fails to allege whether the “other persons” who were




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transacting with the United States were aware of: (i) who owned the vessel; (ii) whether the owner

was sanctioned in the United States; and (iii) the legal prohibitions that resulted from being

sanctioned by the United States, particularly for a vessel that the government does not allege was

ever in the United States.

       The government’s conclusory allegation that when the yacht management company “sent

money in satisfaction of invoices to U.S. companies through the U.S. banking system to support

and maintain the Amadea, it was doing so with the intent to promote the carrying on of U.S.

sanctions violations” (Compl. ¶ 49) again highlights the pleading failure. Simply put, the

Complaint provides no notice of whose alleged culpable state of mind the government relies on to

plead a willful violation, as required by Section 206(c) of IEEPA.

       Instead, the Complaint engages in what courts consistently characterize as impermissible

“group pleading.” For example, in Plusgrade L.P. v. Endava Inc., No. 1:21-CV-1530 (MKV),

2023 WL 2402879, at *4 (S.D.N.Y. Mar. 8, 2023), the court dismissed the complaint for improper

“group pleading” where “most of the allegations ambiguously state that the alleged misconduct

was carried out by ‘defendants,’ or by numerous defendants placed into makeshift groups”. The

court in First Equity Corp. of Fla. v. Standard & Poor’s Corp., 690 F. Supp. 256, 260 (S.D.N.Y.

1988) held that: “[a] corporation can be held to have a particular state of mind only when that state

of mind is possessed by a single individual.” aff’d, 869 F.2d 175 (2d Cir. 1989); see also Automated

Transaction LLC v. New York Cmty. Bank, No. 12-CV-3070, 2013 WL 992423, at *4 (E.D.N.Y.

Mar. 13, 2013) (“Defendants argue this ‘group pleading’—i.e., referring to both Defendants

collectively as ‘Community’ rather than distinguishing between them—is impermissible and

insufficient under . . . Rule 8. The Court agrees.”). The Second Circuit characterized this in a recent

decision as “collective intent – or lack thereof.” Jackson v. Abernathy, 960 F.3d 94, 96, 99 (2d Cir.




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2020) (per curiam) (affirming dismissal of securities-fraud complaint because plaintiff had “not

identified any individual whose scienter may be imputed to the Corporate Defendants”).

       Indeed, in many ways the government’s approach here mirrors the approach of the court in

U.S. v. One White Crystal Covered Bad Tour Glove & Other Michael Jackson Memorabilia, No.

CV 11-3582, 2012 WL 8455336, at *1 (C.D. Cal. Apr. 12, 2012). There, rather than specifying

which individual or entity had committed the unlawful act (extortion) giving rise to the

government’s civil-forfeiture allegations, the complaint alleged “that the extortion…was

perpetrated by members of the ‘Inner Circle.’”Id. at *3 (citations omitted). The court held that the

government’s complaint “thus clearly fails to meet the heightened pleading requirements of Fed.

R. Civ. P. Supp. R. G(2)(f) as to the allegations of extortion, since the extortion described therein

is not claimed to have been perpetrated by [claimant], but is instead ascribed to the amorphously

defined ‘Inner Circle’ to which he allegedly belonged.” Id.

       The government attempts the same impermissible pleading here and seeks to rely on an

“amorphously defined” collection of individuals and entities to demonstrate willfulness. The

Complaint refers to “KERIMOV, or those acting on his behalf,” and alleges that this ill-defined

group “caused entities and persons,” another ill-defined group, to undertake the alleged sanctions

violations. See Compl. ¶ 45. At the same time, the Complaint alleges that the “crew” of the vessel

(none of whom is specifically identified) engaged in the purported violations. See id. ¶ 46. As in

Bad Tour Glove, and the above-cited cases, these allegations “clearly fail[] to meet the heightened

pleading requirements of Fed. R. Civ. P. Supp. R. G(2)(f).” See 2012 WL 8455336, at *3.




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  III.        The Second Claim fails because the government has not alleged facts to state a
              claim for money laundering under 18 U.S.C. § 1956(a)(2)(A), the Amadea was
              neither “involved in” nor “traceable to” any such alleged violation and fails to
              allege facts that anyone acted willfully and with the requisite intent for this
              claim.

         The government brings its Second Claim (as well as its Third and Fourth Claims) under a

money laundering theory without alleging a single fact to support that money laundering ever took

place, particularly since no specific individual is alleged to have acted with intent when sending a

wire that touched upon the United States. The Second Claim alleges that, pursuant to 18 U.S.C.

§ 981(a)(1)(A), the vendor payments constituted money laundering, in that funds were transferred

to the United States from or through outside the United States with the intent to promote the

carrying on of SUA, to wit: IEEPA violations, pursuant to 18 U.S.C. § 1956(a)(2)(A). Compl.

¶¶ 55–59. This claim fails because the Complaint does not allege any specific intent to violate the

law. But even if it did, significantly, it fails to allege the Amadea is property “involved in” or

“traceable to” a money laundering violation under § 1956(a)(2). This claim fails on a plain reading

of the statutory text and caselaw. These points are addressed in reverse order.

         A.      Under the government’s theory, the Amadea is not property “involved in”
                 money laundering, nor is it “traceable to” any such property.

         In the money laundering context, the term “involved in” is generally defined as “property

that is itself being laundered, as well as property used to facilitate a money laundering offense.”

U.S. v. Approximately 250 Documents Containing the Forged Hand Writing of President John F.

Kennedy and Others, No. 03–CV–8004, 2008 WL 4129814, at *3 (S.D.N.Y. Sept. 5, 2008); see

also 650 Fifth Ave., 777 F. Supp. at 563. The government does not allege that the Amadea itself

was being laundered.

         Nor has the government alleged facts that support an inference that the Amadea was used

to “facilitate” any money laundering offense. Facilitation “occurs when the property makes the



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prohibited conduct less difficult or more or less free from obstruction or hinderance.” See United

States v. Huber, 404 F.3d 1047, 1060 (8th Cir. 2005). Under this definition, the government’s

theory would be that the Amadea somehow makes the sanctions violations “less difficult or more

or less free from obstruction or hindrance.” But the government does not set forth allegations of

“facilitation” as that term has been interpreted. Facilitation cases involve facts where the property

at issue was actually “involved in” money laundering transactions because they facilitated the

money laundering or served as a conduit for illegal proceeds. See United States v. Schlesinger, 396

F. Supp. 2d 267, 269, 272–73 (E.D.N.Y. 2005), aff’d, 261 F. App’x 355, 361 (2d Cir. 2008)

(finding a factory was “involved in” money laundering under a facilitation theory because it was

used to commit insurance and creditor fraud based on fires that occurred there and by having shell

companies foreclose on collateral inside the factory, and the proceeds of the frauds were used to

pay expenses for the factory making it a conduit to clean illegal proceeds); U.S. v. Contents of

Acct. Numbers 208-06070 & 208-06068-1-2, 847 F. Supp. 329, 335 (S.D.N.Y. 1994) (finding that

the accounts were used to “facilitate” money laundering because legitimate and illegitimate funds

were commingled in these accounts, “for the purpose of disguising the nature and source of the

proceeds of [the illegal] scheme”). In contrast to cases where facts support a finding that property

was “involved” in a money laundering offense by facilitating such offense. In this case there are

no allegations that the Amadea facilitated any money laundering activity.

       For the same reasons that the Amadea was and is not involved in money laundering activity,

it is also not “traceable to” any such property. Property “traceable to” means property where the

acquisition is attributable to the money laundering scheme rather than from money obtained from

untainted sources. U.S. v. Nicolo, 597 F. Supp. 2d 342, 348 (W.D.N.Y. 2009). The Tenth Circuit

in U.S. v. Bornfield provided a helpful example of the definitions of “involved in” and “traceable




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to.” The court explained that, “if a defendant receives $500,000 in cash in a money laundering

scheme and hides the cash in his house, the government may seize that money [but not the house]

as property ‘involved in’ the money laundering offense [under a facilitation theory]. If, on the other

hand, the defendant purchases a $500,000 item with that money, the government may seek the

item purchased as property ‘traceable to’ property involved in the money laundering offense [under

an acquired theory].” 145 F.3d 1123, 1135 (10th Cir. 1998). The Amadea, however, is not alleged

to have been acquired with funds attributable to a money laundering scheme or even with funds

traceable to any illegal activity.

        Lastly, the government’s Complaint falls fatally short of Supplemental Rule G(2)(f)’s

requirement that an in rem forfeiture complaint “state sufficiently detailed facts to support a

reasonable belief that the government will be able to meet its burden of proof at trial.” Under the

general rules governing civil forfeiture proceedings, 18 U.S.C. § 983(c)(3) provides that “if the

Government’s theory of forfeiture is that the property was used to commit or facilitate the

commission of a criminal offense, or was involved in the commission of a criminal offense, the

Government shall establish that there was a substantial connection between the property and the

offense.” The government must provide evidence showing that the nexus between the property

and the money laundering offense is strong and more than incidental. See Nicolo, 597 F. Supp. 2d

at 356 (finding that the house where the defendant sent invoices and received payments in the

course of his fraud scheme was too tangentially related to the money laundering offense to satisfy

the substantial connection test).

        The government’s allegations here demonstrate that the Amadea is even more tangential to

the alleged money laundering than the house in Nicolo. There is no alleged fact that suggests a

“substantial connection” between the Amadea and money laundering, as would be required in a




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forfeiture proceeding. The government’s baseless allegations that the Amadea was “involved in”

money laundering because funds used to “maintain” the vessel were illegally transported or

transferred to U.S. banks from or through foreign bank accounts in violation of IEEPA fails as a

matter of law. Even assuming there was a money laundering scheme—which there was not—the

Amadea would not be traceable thereto because the alleged scheme acquired identified provisions.

       At most, the government would be permitted to forfeit crew uniforms, a tank of gas, food

from the pantry, and two jet skis—not the entire vessel. But again, even these items are not

“traceable to” any illegal conduct, as no illicit funds were laundered by purchasing them.

Accordingly, the Second, Third, and Fourth Claims should be dismissed.

       B.      The Complaint fails to allege that anyone acted with the specific intent to
               promote the carrying on of IEEPA violations, which is Required under 18
               U.S.C. § 1956(a)(2)(A).

       Similar to the government’s failure to plead “willfulness” to establish an underlying IEEPA

violation and thus a predicate SUA, the government also fails to allege with the required

particularity the additional specific intent necessary to plead a money-laundering violation under

18 U.S.C. § 1956.3 This defect separately requires dismissal of the Second Claim.

       More specifically, § 1956(a)(2)(A) pertains to international transactions and—along with

its domestic counterpart in (a)(1)(A)—courts have dubbed the covered conduct “promotion money

laundering,” given the statutory requirement that the offense must be committed “with the intent

to promote the carrying on of specified unlawful activity.” 18 U.S.C. § 1956(a)(2)(A) (emphasis

added). For specific intent to commit promotion money laundering, the Second Circuit “demand[s]

evidence that the receipt and deposit of laundered funds was made with the intent to promote the




3
 As with the First Claim, the government’s failure to plead a willful IEEPA violation separately
dooms the Second Claim. See supra Part II.C.

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specified underlying unlawful activity, be it, for example, by promoting continued illegal activity.”

U.S. v. Thorn, 317 F.3d 107, 133 (2d Cir. 2003). In U.S. v. Pierce, the Second Circuit reversed

criminal convictions for conspiracy to commit violations of § 1956(a)(1) & (a)(2) where the

alleged SUA comprised a wire-fraud scheme, observing that “proof beyond a reasonable doubt

that [defendants] had intended to promote wire fraud in the course of their operations was required

for conviction on the money laundering charge.” 224 F.3d 158, 162 (2d Cir. 2000) (citation

omitted). The court of appeals reiterated: “Under § 1956(a)(2)(A), the government had to establish

that the Pierces moved funds internationally with ‘the intent to promote the carrying on of’ the

wire fraud scheme.” Id. at 165.

       Here, the Complaint includes minimal factual allegations beyond what is alleged in support

of the purported IEEPA violations that suggest any specific “intent to promote the carrying on of”

such violations. The Complaint fails to detail how any individual or entity committed IEEPA

violations with the intent to promote continued IEEPA violations. Instead, the government simply

recites alleged transactions that it claims constitute IEEPA violations, see Compl. ¶ 46, and then

asserts in conclusory fashion that anonymous individuals (1) knew Kerimov beneficially owned

the Amadea; (2) upon information and belief, knew Kerimov was sanctioned by the United States;

and (3) unnamed employees (without indicating whether they were the same individuals who knew

of the vessel’s ownership, the sanctions, and the implications of those sanctions) intended that

routine de minimis expenses appurtenant to a vessel that passed through the United States would

“promote the carrying on of U.S. sanctions violations,” Id. ¶¶ 47–49. This type of conclusory

pleading “masquerading as factual conclusions” should not be countenanced. Henneman, 517 F.3d




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at 149. These allegations do not satisfy the government’s pleading requirement and mandate

dismissal.4

       As final point, the government’s theory—that the wire transaction that constitutes the

IEEPA violation is the same transaction that constitutes the money laundering—raises the “merger

problem” identified by the Supreme Court in connection with the money-laundering statutes. U.S.

v. Santos, 553 U.S. 507, 515 (2008) (plurality). Because the government’s allegations for the

underlying IEEPA violations and those used to satisfy its claim of money laundering are identical

these two crimes merge. Under the government’s theory, “nearly every violation of [IEEPA in this

manner] would also be a violation of the money-laundering statute”—an impermissible result

under the logic embraced by five Justices in Santos. While courts in the Second Circuit have found

there to be no merger problem with respect to 1956(a)(2)(A) in some cases, those cases involve

allegations where money transfers were designed to “promote” the underlying crime, i.e. where

co-conspirators understood use of foreign bank accounts to be integral to the success of the

underlying criminal scheme. The Complaint here fails to make any such allegations. As such, the

government’s Second Claim fails to state a claim for money laundering under 1956(a)(2)(A), as is

required to sustain a forfeiture claim under 981(a)(1)(A).




4
  According to the Senate Judiciary Committee, § 1956(a)(2)(A) was enacted “to authorize the
forfeiture of profits earned by launderers.” S. Rep. 99-433 at 1. The purpose of this legislation was
to disrupt the ability of those involved in profitable criminal enterprises “to disguise the illegal
nature and true source of their income.” Id. at 2. This case does not involve allegations of anyone
profiting from the alleged laundered funds and is inconsistent both the statutory text and the stated
purpose as reflected in the legislative history.

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IV.     The third claim fails because the government has not alleged facts to state a claim
        for money laundering under 18 U.S.C. § 1957, the Amadea was neither “involved in”
        nor “traceable to” money laundering, and the allegations are insufficient to show
        that anyone acted willfully or knowingly.

        A.      The government fails to allege that the funds used to make vendor payments
                constitute “criminally derived property.”

        For similar reasons, the Third Claim also fails. Section 1957 criminally penalizes any

 person “who knowingly engages or attempts to engage in a monetary transaction in criminally

 derived property of a value greater than $10,000” that is derived from an SUA, here, violations of

 IEEPA sanctions. Compl. ¶¶ 62–63.

        Under the statute, “criminally derived property” is defined as “any property constituting,

 or derived from, proceeds obtained from a criminal offense.” 18 U.S.C. § 1957(f)(2) (emphasis

 added). The term “proceeds” for purposes of this statute is defined as “any property derived from

 or obtained or retained, directly or indirectly, through some form of unlawful activity, including

 the gross receipts of such activity.” 18 U.S.C. § 1956(c)(9). These definitions make clear that the

 proceeds must be obtained or retained from some form of unlawful activity. The Complaint never

 alleges that anyone obtained or retained criminally derived property that was then used to commit

 sanctions violations.

        Rather, the government’s strained theory is that clean funds transited inbound to a U.S.

 correspondent bank on behalf of a sanctioned individual without a license, at which point they

 became criminally derived property. Then, according to the government, when the funds transited

 outbound from the U.S. correspondent bank to their destination, the outbound transaction

 constituted money laundering in violation of § 1957. Compl. ¶ 64. But the Second Circuit has held

 that funds used in an alleged money laundering transaction must have been “criminally derived




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property” from the outset. In other words, the money laundering must be separate and distinct from

the underlying criminal conduct.

       In U.S. v. Piervinanzi, 23 F.3d 670, 677 (2d Cir. 1994), the Second Circuit reversed a

conviction under Section 1957 by holding that this statute “only encompasses transactions in which

a defendant first obtains ‘criminally derived property’ and then engages in a monetary transaction

with that property.” In analyzing this statute, the Second Circuit noted that the “ordinary meaning

of the word ‘obtained’” used in both definitions above “entails possession of a thing.” The Second

Circuit further noted that “the word ‘property’ implies ownership.” Id. Drawing on these

definitions, the Second Circuit then concluded that “[t]he use of such language demonstrates a

congressional intent that the proceeds of a crime be in the defendant’s possession before he can

attempt to transfer those proceeds in violation of § 1957.” Id. at 676–77; see also $1,399,313.74

in U.S. Currency, 591 F. Supp. 2d at 371–72 (holding that for purposes of a § 1957 claim, the

proceeds must be “obtained from a prior, separate criminal act since money laundering ‘must be a

crime distinct from the crime by which the money is obtained.’” (citations omitted)); U.S. v.

Johnson, 971 F.2d 562, 568 (10th Cir. 1992) (determining that “Congress viewed a violation of §

1957 as occurring only after the individual involved in the specified criminal activity gained

possession or disposal of the proceeds generated by the criminal activity”); U.S. v. Howard, 245

F. Supp. 2d 24, 29 (D.D.C. 2003) (vacating § 1957 conviction because the jury “did not identify

specific unlawful activities from which the laundered funds were acquired that were separate and

distinct from the conduct charged as mail and wire fraud”).

       The government makes no allegation that anyone obtained criminally derived property and

then used it to violate sanctions. There is no “separate and distinct” crime. Simply put, the




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Complaint fails to allege that the funds used to pay the vendor invoices were “criminally derived

property” under the statue, and this claim must be dismissed on this basis as well.

       B.      The government fails to allege that anyone “knowingly” engaged in a
               transaction in “criminally derived property.”

       “To prove a violation of § 1957(a), the government must present evidence that the

defendant knowingly engaged or attempted to engage in a monetary transaction in unlawful funds.”

U.S. v. Ness, 565 F.3d 73, 78 (2d Cir. 2009) (emphases added) (reversing conviction where

government failed to prove requisite “monetary transaction”). That is, § 1957(a) requires the

government to prove “the defendant knows that the monetary transaction involves criminally

derived property.” U.S. v. Herndon, 122 F. Supp. 3d 487, 491 (S.D. W. Va. 2015) (collecting cases

and rejecting plea agreement that failed to satisfy mens rea requirement of § 1957).5

       As explained directly above, the Complaint fails to plead any underlying criminal activity

or that the funds used to pay the vendors were “criminally derived property.” Nor does the

Complaint allege that any specific individual was aware that the funds were criminally derived

and still acted knowingly. Indeed, they could not have as a matter of law. The government’s

theory—that as soon as these payments touched U.S. correspondent bank accounts and prior to the

closely related (and perhaps automated) transactions necessary to consummate the alleged IEEPA

violations—does not cure this defect because the transactions did not involve criminally derived

property when initiated (or ever). See Compl. ¶ 64. Moreover, the alleged IEEPA violations were

not completed once funds were sent to the United States, because Executive Order 13661 only

prohibits “transfer[s]” and similar transactions in property belonging to sanctioned individuals if

the property was “in the United States” at the time of the Executive Order, or later “come[s] within



5
 As with the First Claim and Second Claims, the government’s failure to plead a willful IEEPA
violation separately dooms the Third Claim. See supra Part II.C.

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the United States” or “within the possession or control of any United States person.” It does not

prohibit a mere transfer of money into a U.S. bank account.6

         As such, the wire “in” could not have violate any law. If there can be no “criminally

derived property” until the offense is completed, then no one could have “knowingly” laundered

such property through the same transaction that renders the property “criminally derived” in the

first place. For similar reasons as mentioned in Part III, the government’s theory for its Third Claim

runs headlong into the “merger problem” identified by five Justices in Santos. The Complaint’s

twisted logic that the simultaneous transfers into and subsequent transfers out of the United States

alleged here are simultaneously IEEPA violations and money laundering simply fails to state a

claim.

         Similarly, there is no allegation that any individual or entity became aware that the funds

transformed into “criminally derived property” as soon as they touched the United States and then

such an individual or entity “knowingly” engaged in a separate transaction to launder such funds

by paying for goods and services. Indeed, no individual or entity accused of wrongdoing ever

obtained or retained criminally derived property. As Southern District Courts have already held in

analogous circumstances: “There are . . . no allegations supporting a reasonable belief that these

funds involved criminally derived property and that Claimants were aware of such illegal




6
  By the same token, it is not a sanctions violation for a sanctioned individual’s property simply to
be present in the United States; otherwise, any unsanctioned individual who holds a bank account
in the United States and is subsequently sanctioned will have by default also committed a sanctions
violation, even if she engages in no transactions involving the bank account after being sanctioned.
It is the transacting in “blocked” or “frozen” property once it is in the United States that gives rise
to a violation. See Treasury Designates Russian Oligarchs, Offs., & Entities in Response to
Worldwide Malign Activity, Treas. SM-0338 (Apr. 6, 2018) (“All assets subject to U.S. jurisdiction
of the designated individuals and entities, and of any other entities blocked by operation of law as
a result of their ownership by a sanctioned party, are frozen, and U.S. persons are generally
prohibited from dealings with them.”).

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origin. . . . A complaint devoid of any facts to support its bare allegations and consisting solely of

speculative assertions and innuendo cannot stand.” U.S. v.$1,399,313.74 in U.S. Currency, 591 F.

Supp. at 374. This lack of intent provides an additional reason to dismiss the Third Claim.

       C.      The complaint fails to allege the Amadea was “involved in” or “traceable to”
               money laundering.

       Like the Second Claim, the Third Claim is also brought under 18 U.S.C. § 981(a)(1)(A),

which provides that any property that is “involved in” a money laundering transaction or any

property “traceable to” such property is subject to forfeiture. However, for the reasons set forth

above, the government has not set forth any facts of any money laundering activity here. As a

result, the Third Claim fails for this reason as well.

V.     The Fourth Claim predicated on alleged conspiracy to commit money laundering
       under 18 U.S.C. §§ 1956 & 1957 fails to state a claim upon which relief can be
       granted, and fails to allege the requisite mens rea.

       Section 1956(h) imposes criminal liability on “[a]ny person who conspires to commit any

offense [under § 1956 or § 1957].” For many of the same reasons explained herein, the Complaint

fails to allege that any natural person or entity “conspire[d],” i.e., agreed with another, to engage

either in (1) “promotion” under § 1956(a)(2) (Second Claim); or (2) a transaction in “criminally

derived property” under § 1957(a) (Third Claim).7

       At most, the Complaint alleges that some ill-defined collection of individuals or entities—

or an amalgamation of both—caused certain payments to be made but the payments were not

criminal proceeds when the wires were sent and no one could have known they were and




7
 The Fourth Claim includes no additional facts apart from what is alleged in support of the First,
Second, and Third Claims, and only the Second and Third Claims allege money laundering.
Similar to the First, Second, and Third Claims, the Fourth Claim includes no allegation that anyone
conspired to commit a willful IEEPA violation, a separate deficiency warranting dismissal. See
supra Part II.C.

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knowingly engaged in wrongdoing. There is no suggestion that in doing so anyone entered into a

knowing violation of law, let alone conspired to violate U.S. law and promote IEEPA violations,

or sought to launder money that could not even be considered “criminally derived property”

before the alleged set of transactions constituting the IEEPA violations were initiated. Thus, the

Complaint fails to plead conspiracy to commit money laundering, and the Fourth Claim should

be dismissed. Cf. U.S. v. Evergreen Int’l, 206 F. App’x 71, 75 (2d Cir. 2006) (summary order)

(“[E]ven assuming arguendo that [defendants] played a role in the transfers to Forex, there was

insufficient evidence that in doing so they intended to promote the mail fraud . . . , and their

convictions [for conspiracy to commit money laundering] must therefore be reversed.”).

                                         CONCLUSION

       The government’s Complaint is fatally flawed. Indeed, the government has already notified

Claimants that it will amend its Complaint after this motion to dismiss is filed, knowing the current

one fails to set forth a cognizable claim for forfeiture, but wishing to have a look at Claimants’

arguments so that the its next version might salvage its baseless claims. The government has even

threatened that if Claimant Mr. Khudainatov continues to assert his ownership over his vessel, its

next complaint will include the knowingly false allegations that he is a “straw owner” for Igor

Sechin and Vladimir Putin.8




8
  In an email on October 23, 2023, an attorney for the government advised that should Claimants
file a claim in this matter, “thereby putting Mr. Khudainatov’s ownership at issue, we plan to file
an amended Complaint including further details about Mr. Khudainatov, including our position
that he is actually the straw owner of numerous yachts, including the Amadea, Crescent,
and Scheherazade.” As such, the government is on record that the theory on which it filed the
present forfeiture Complaint, in which Mr. Khudainatov is not alleged to be the straw owner for
Kerimov but a different individual is alleged to be, might be superseded in a new filing with yet
another theory.

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       For all the foregoing reasons, the government’s Complaint fails to state a claim upon which

relief can be granted and should be dismissed.


Dated: January 26, 2024                          Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Motion to Dismiss was served on all counsel of record

via the Court’s CM/ECF system.



Dated: January 26, 2024


                                                    Adam C. Ford




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